Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF OREGON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                That Good Good LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA SuperDeluxe
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5009 SE Powell Blvd                                             PO Box 14688
                                  Portland, OR 97206                                              Portland, OR 97293
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Multnomah                                                       Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  See attached Exhibit A
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.eatsuperdeluxe.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                             Case 24-30325-thp11                 Doc 1        Filed 02/09/24
Debtor    That Good Good LLC                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                                 Case 24-30325-thp11                  Doc 1         Filed 02/09/24
Debtor    That Good Good LLC                                                                              Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      Boxer Ramen LLC                                               Relationship               Affilate

                                                     District    Oregon                       When      2/09/24                Case number, if known      24-30324


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?           See attached Exhibit A
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No

                                                       Yes.     Insurance agency     Brian K. Woodbury Agency
                                                                Contact name         Karie Oswalt
                                                                Phone                503-635-3030


          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                                                    Case 24-30325-thp11                    Doc 1        Filed 02/09/24
Debtor   That Good Good LLC                                                          Case number (if known)
         Name




16. Estimated liabilities     $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                     Case 24-30325-thp11               Doc 1       Filed 02/09/24
Debtor    That Good Good LLC                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       2/08/2024
                                                  MM / DD / YYYY


                             X /s/ Micah Camden                                                           Micah Camden
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X /s/ Thomas W. Stilley                                                       Date    2/08/2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Thomas W. Stilley
                                 Printed name

                                 Sussman Shank LLP
                                 Firm name

                                 1000 SW Broadway
                                 Suite 1400
                                 Portland, OR 97205
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     503-227-1111                  Email address      tstilley@sussmanshank.com

                                 883167 OR
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                                             Case 24-30325-thp11                   Doc 1        Filed 02/09/24
                Exhibit A to That Good Good LLC Voluntary Petition:

                    4. and 12. Location of principal place of assets

870 NW 13th Ave, Portland, OR 97209

15920 SW Tualatin-Sherwood Rd, Sherwood, OR 97140

805 NE 3rd St, Bend, OR 97701

340 First St, Lake Oswego, OR 97034

5009 SE Powell Blvd, Portland, OR 97206




                   Case 24-30325-thp11      Doc 1    Filed 02/09/24
Fill in this information to identify the case:

Debtor name         That Good Good LLC

United States Bankruptcy Court for the:     DISTRICT OF OREGON

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       2/08/2024                       X /s/ Micah Camden
                                                           Signature of individual signing on behalf of debtor

                                                            Micah Camden
                                                            Printed name

                                                            Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




                                          Case 24-30325-thp11                      Doc 1     Filed 02/09/24
 Fill in this information to identify the case:
 Debtor name That Good Good LLC
 United States Bankruptcy Court for the: DISTRICT OF OREGON                                                                                  Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 US Small Business         Therese Meers             Substantially all         Unliquidated             $1,420,967.46                         $0.00          $1,420,967.46
 Admin.                                              property
 PO Box 39180              answerdesk@sba.
 Portland, OR              gov
 97208-3818                503-326-2882
 WebBank                   Parris Sanz               Loan                      Unliquidated                $362,041.94                  $5,883.00              $356,158.94
 215 South State                                                               Disputed
 Street                    parris.sanz@webb
 Suite 1000                ank.com
 Salt Lake City, UT        844-994-2265
 84111
 US Foods                  Martha Ha                 Vendor                                                                                                    $126,000.00
 350 S Pacific Hwy
 Woodburn, OR              martha.ha@usfood
 97071                     s.com
                           408-766-5600
 Fab King, LLC             Stephanie        Loan                                                           $125,000.00                        $0.00            $125,000.00
 PO Box 6774               Sahagian
 Portland, OR 97225
                           stephanie@houseo
                           fspearsmgmt.com
                           302-658-7581
 Corfini Gourmet           John M.          Vendor                                                                                                               $92,000.00
 11040 SW Myslony          Debenedetti
 St #100
 Tualatin, OR 97062        theresal@corfinigo
                           urmet.com
                           503-928-4771
 Urban Renaissance         Tom Kilbane        Commercial Lease                                                                                                   $54,570.06
 Group
 PO Box 4800, Unit         tom@urbanrengro
 98                        up.com
 Portland, OR 97208        206-381-3344
 Rhino Holdings            Sanjiv Chopra             Commerical Lease                                                                                            $13,986.84
 Sherwood, LLC
 PO Box 2519               deals@rhinoig.com
 Portland, OR 97208        702-202-6573


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                                             Case 24-30325-thp11                    Doc 1           Filed 02/09/24
 Debtor    That Good Good LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Wizer Properties          Kimberly Wizer            Commercial Lease                                                                                            $10,433.83
 1125 NW Coach St.
 #450
 Portland, OR 97209        503-459-7505
 Portland General          Carol Walker              Utilities                                                                                                     $4,406.27
 Electric
 121 SW Salmon St          customer.service@
 Portland, OR 97204        pgn.com
                           503-464-8000
 NW Natural Gas            Maardilyn Saathoff Utilities                                                                                                            $2,996.61
 250 SW Taylor St.
 Portland, OR 97204        smf@nwnatural.co
                           m
                           800-422-4012
 Waste Management          Charles Boettcher         Utilities                                                                                                     $2,727.26
 of Oregon Inc
 800 Capital St Ste        wmcares@wm.com
 300                       855-267-1046
 Houston, TX 77002
 Pride Disposal            Mike Leichner             Utilities                                                                                                     $1,188.68
 Company
 PO Box 820
 Sherwood, OR              503-625-6177
 97140
 Pacific Power             Stefan Bird               Utilities                                                                                                     $1,141.69
 1033 NE 6th Avenue
 Portland, OR 97256        accountnotices@p
                           acificpower.net
                           888-221-7070
 Portland Disposal &       Gianncarlo Cargni         Utilities                                                                                                     $1,057.00
 Recycling,
 Inc.                      ap@portlanddispo
 7202 NE 42nd              sal.com
 Avenue                    503-281-8736
 Portland, OR 97218
 Happy Cup Coffee          Scott Rector              Vendor                                                                                                        $1,000.00
 Company
 2850 NE Sandy Blvd        coffee@happycup.
 Portland, OR 97232        com
                           503-484-0842
 Comcast Business          Francis M. Buano          Utilities                                                                                                       $948.30
 1701 John F
 Kennedy Blvd              francis_buono@co
 Philadelphia, PA          mcast.net
 19103-2838                866-429-0152
 Portland Water            Gabe Solmer      Utilities                                                                                                                $904.91
 Bureau
 664 N. Tillamook St.      PWBCustomerServ
 Portland, OR 97227        ice@portlandorego
                           n.gov
                           503-823-7770



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                                             Case 24-30325-thp11                    Doc 1           Filed 02/09/24
 Debtor    That Good Good LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Cascade Disposal          Patrick Shea              Utilities                                                                                                       $630.30
 1300 SE Wilson
 Avenue                    cust2012@wcnx.or
 Bend, OR 97702            g
                           541-382-6660
 Cascade Natural           Attn Chris Ryan  Utilities                                                                                                                $607.44
 Gas Corp.
 8113 W Grandridge         chris.ryan@cngc.c
 Blvd                      om
 Attn Chris Ryan           888-522-1130
 Kennewick, WA
 99336
 City of Sherwood          Craid Sheldon             Utilities                                                                                                       $481.26
 Water
 15527 SW                  utilitybilling@sher
 Willamette St.            woodoregon.gov
 Sherwood, OR              503-925-2310
 97140




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3




                                             Case 24-30325-thp11                    Doc 1           Filed 02/09/24
                                                      United States Bankruptcy Court
                                                                     District of Oregon
 In re    That Good Good LLC                                                                                      Case No.
                                                                                Debtor(s)                         Chapter         11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Aaron Draplin                                               Common                                                           2%
2946 NE 67th Avenue                                         Shares
Portland, OR 97213

David Nakamoto                                              Common                                                           3%
1534 SE 10th Ave                                            Shares
Portland, OR 97214

Generals SD, LLC                                            Common                                                           6%
27777 Franklin Road, Ste 2500                               Shares
Southfield, MI 48034

Matthew Lynch                                               Common                                                           23.75%
5147 SE 86th Ave                                            Shares
Portland, OR 97266

Micah Camden                                                Common                                                           51.25%
2255 S Military Rd                                          Shares
Portland, OR 97219

Sofrey Super Deluxe LLC                                     Common                                                           14%
5009 SE Powell Blvd                                         Shares
Portland, OR 97206


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date      2/08/2024                                                      Signature /s/ Micah Camden
                                                                                        Micah Camden

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




                                           Case 24-30325-thp11                     Doc 1         Filed 02/09/24
                                               United States Bankruptcy Court
                                                           District of Oregon
 In re   That Good Good LLC                                                                      Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     2/08/2024                                      /s/ Micah Camden
                                                         Micah Camden/Manager
                                                         Signer/Title




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                                        United States Bankruptcy Court
                                                   District of Oregon
 In re   That Good Good LLC                                                         Case No.
                                                            Debtor(s)               Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for That Good Good LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Sofrey Super Deluxe LLC
5009 SE Powell Blvd
Portland, OR 97206




  None [Check if applicable]




 2/08/2024                                     /s/ Thomas W. Stilley
Date                                           Thomas W. Stilley
                                               Signature of Attorney or Litigant
                                               Counsel for That Good Good LLC
                                               Sussman Shank LLP
                                               1000 SW Broadway
                                               Suite 1400
                                               Portland, OR 97205
                                               503-227-1111
                                               tstilley@sussmanshank.com




                                Case 24-30325-thp11           Doc 1     Filed 02/09/24
                                   THAT GOOD GOOD LLC
                                      ACTION TAKEN BY
                             MEMBERS WITHOUT A MEETING
       The undersigned, being a majority of the members of the Limited Liability Company, do
hereby waive notice to and holding of members meeting and do further hereby consent to the
adoption of the following resolution:

       RESOLVED that the Limited Liability Company is authorized to file a petition for relief
under Chapter 11 of the U.S. Bankruptcy Code.

       FURTHER RESOLVED the Manager Micah Camden is authorized to sign all documents
necessary to accomplish the filing of the Chapter 11 petition and further authorized to execute all
documents required by the Bankruptcy Court during such proceedings, including those
documents which might become necessary if the case is converted to Chapter 7.

     FURTHER RESOLVED that the Limited Liability Company shall retain SUSSMAN
SHANK LLP as its legal counsel for such bankruptcy proceedings and that the Manger Micah
Camden is authorized to execute the Attorney/Client Fee Agreement.

       FURTHER RESOLVED that Manager Micah Camden at his sole discretion shall
determine the precise date of the filing of the Chapter 11 petition.
                        02/08/2024
       EFFECTIVE DATE: _________________

                                                  MEMBERS:
                                                   /s/ Micah Camden
                                                  Micah Camden, Manager




                       Case 24-30325-thp11        Doc 1     Filed 02/09/24
